EXHIBIT C
                                 STATE OF CONNECTICUT

                                   BY HIS EXCELLENCY

                                        NED LAMONT

                               EXECUTIVE ORDER NO. 7BB

PROTECTION OF PUBLIC HEALTH AND SAFETY DURING COVID-19 PANDEMIC
AND RESPONSE - USE OF FACEMASKS OR CLOTH FACE COVERINGS,
RESCHEDULING OF PRESIDENTIAL PREFERENCE PRIMARY TO AUGUST 11


WHEREAS, on March 10, 2020, I issued a declaration of public health and civil preparedness
emergencies, proclaiming a state of emergency throughout the State of Connecticut as a result of
the corona virus disease 2019 (COVID-19) outbreak in the United States and confirmed spread in
Connecticut; and

WHEREAS, pursuant to such declaration, I have issued twenty-eight (28) executive orders to
suspend or modify statutes and to take other actions necessary to protect public health and safety
and to mitigate the effects of the COVID-19 pandemic; and

WHEREAS, COVID-19 is a respiratory disease that spreads easily from person to person and
may result in serious illness or death; and

WHEREAS, the World Health Organization has declared the COVID-19 outbreak a pandemic;
and

WHEREAS, the risk of severe illness and death from COVID-19 is higher for individuals who
are 60 or older and for those who have chronic health conditions; and

WHEREAS, to reduce the spread of COVID-19, the United States Centers for Disease Control
and Prevention and the Connecticut Department of Public Health recommend implementation of
community mitigation strategies to increase containment of the virus and to slow trans miss ion of
the virus, including cancellation of gatherings of ten people or more and social distancing in
smaller gatherings; and

WHEREAS, public health experts have determined that it is possible to transmit COVID-19 even
before a person shows symptoms and through aerosol transmission; and

WHEREAS, public health experts have determined that wearing a cloth face covenng may
prevent transmission by an infected person; and

WHEREAS, there exists a compelling interest, in order to limit the transmission of COVID-19,
in requiring the use of appropriate personal protective equipment in public places when and where
the risk of transmission is higher; and
WHEREAS, there exists a compelling interest in reducing the risk oftninsmission ofCOVID-19
among voters, poll workers, and residents, which risk would be heightened· in the settings of
indoor polling places and potential lines for voting, especially in polling places such as senior
centers, schools, community centers, and other public facilities; and

WHEREAS, Executive Order No. 7G, Section 1 rescheduled Connecticut's presidential
preference primary from April28, 2020 to June 2, 2020; and

WHEREAS, it is likely that on June 2, 2020, the currently scheduled date of Connecticut's
presidential preference primary, such heightened risk will remain; and

WHEREAS, on August 11, 2020 Connecticut is scheduled to conduct primary elections for other
offices pursuant to Section 9-415 of the Connecticut General Statutes;

NOW, THEREFORE, I, NED LAMONT, Governor of the State of Connecticut, by virtue of
the authority vested in me by the Constitution and the laws of the State of Connecticut, do hereby
ORDER AND DIRECT:

   1. Cloth Face Coverings or Higher Level of Protection Required in Public
      Wherever Close Contact is Unavoidable. Effective at 8:00 p.m. on Monday, April
      20, 2020, any person in a public place in Connecticut who is unable to or does not
      maintain a safe social distance of approximately six feet from every other person shall
      cover their mouth and nose with a mask or cloth face-covering. In addition,
      individuals shall use a mask or cloth face covering when using the services of any
      taxi, car, livery, ride-sharing or similar service or means of mass public transit, or
      while within any semi-enclosed transit stop or waiting area. The Commissioner of
      Economic and Community Development shall issue updated versions to the Safe
      Workplace rules issued pursuant to Executive Order No. 7V, Section 1 and the Safe
      Stores rules issued pursuant to Executive Order No. 7S, Section 1, which updated
      versions shall set forth additional requirements for face coverings within those
      settings. Nothing in this order shall require the use of a mask or cloth face covering
      by anyone for whom doing so would be contrary to his or her health or safety because
      of a medical condition, a child in a child care setting, anyone under the age of 2 years,
      or an older child if the parent, guardian or person responsible for the child is unable to
      place the mask safely on the child's face. If a person declines to wear a mask or face
      covering because of a medical condition as described above, such person shall not be
      required to produce medical documentation verifying the stated condition. This order
      shall supersede and preempt any current or future municipal order.

   2. Further Postponement of Presidential Preference Primary to August 11. To
      protect the health and safety of voters, poll workers, and the most vulnerable
      members of our population, I hereby further modify Section 9-464 of the Connecticut
      General Statutes to provide that on August 11, 2020, each party shall conduct a
      primary in each town if the names of two or more candidates for President of the
       United States remain on such party's ballot in accordance with the provisions of
       chapter 154 of the General Statutes.

Unless otherwise specified herein, this order shall take effect immediately and remain in effect
for the duration of the public health and civil preparedness emergency, unless earlier modified,
extended or terminated.

Dated at Hartford, Connecticut, this 17th day of April, 2020.




                                                     Ned Lamont
                                                     Governor




By His Excellency's Command



Denise W. Merrill
Secretary ofthe State
